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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA

                           Alexandria Division


UNITED STATES OF AMERICA,              )
                                       )
             v.                        )     1:15cr301
                                       )
JEFFERSON MANISCAN                     )
                                       )
        Defendant.                     )

                             MEMORANDUM OPINION

             This matter is before the Court on the Government’s

Motion for Revocation of Release Order and the Defendant’s

Motion to Set Conditions of Release.           For the reasons set forth

below, the Government’s Motion is granted, the Defendant’s

Motion is denied, and the Defendant shall be detained without

bail.

                                       I.

             Based on the de novo1 hearing conducted in this matter

on November 19, 2015, the Court finds the relevant facts to be

as follows:

             On October 22, 2015, a Grand Jury sitting in the

Eastern District of Virginia returned an eight-count 29-page


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 “When the district court acts on a motion to revoke or amend a
magistrate judge’s pretrial detention order, the district court
acts de novo and must make an independent determination of the
proper pretrial detention or conditions of release.” United
States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001); see also
18 U.S.C. § 3145(b).
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Indictment against Defendant Jefferson Maniscan and several co-

conspirators in which he is alleged to have been an active

conspirator and participant in a mortgage modification fraud

scheme.

            On November 4, 2015, the Defendant was arrested on

charges of wire fraud and conspiracy to commit wire fraud in

violation of 18 U.S.C. § 1343.

            On November 5, 2015, Magistrate Judge Douglas F.

McCormick of the Central District of California conducted a

hearing and entered an order releasing the Defendant on

conditions pending trial.

            On November 5, 2015, the Government filed a Motion for

Revocation of Release Order in this Court pursuant to 18 U.S.C.

§ 3145.   This court entered an order staying the Magistrate’s

order and setting a hearing on the Government’s Motion in this

court as soon as was reasonably practicable.

                                   II.

            The Defendant was transported to this district and a

de novo hearing on the Government’s Motion was held on November

19, 2015.   18 U.S.C. § 3145 provides that:

            If a person is ordered released by a magistrate judge,
            or by a person other than a judge of a court having
            original jurisdiction over the offense . . . the
            attorney for the Government may file, with the court
            having original jurisdiction over the offense, a
            motion for revocation of the order or amendment of the
            conditions of release.

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18 U.S.C. § 3145(a)(1).        Under 18 U.S.C. § 3142(e), the

defendant may be detained before trial if, after a hearing, this

court finds that “no condition or combination of conditions will

reasonably assure the appearance of the person as required and

the safterty safety of any other person and the community.”2

Pursuant to 18 U.S.C. § 3142(g), the factors that must be

considered in determining whether to detain or release a

defendant on conditions include: (i) the nature and

circumstances of the offense charged; (ii) the weight of the

evidence against the defendant; (iii) the history and

characteristics of the defendant; and (iv) the nature and

seriousness of the danger to any person or the community that

would be posed by the defendant’s release.            The Government must

prove by a preponderance of the evidence that no combination of

conditions will reasonably assure the defendant’s appearance at

future court proceedings, or by clear and convincing evidence

that no condition or combination of conditions will reasonably

assure the safety of any other person and the community.

Stewart, 19 F. App’x at 48 (citations omitted).             “For pretrial

detention to be imposed on a defendant, the lack of reasonable


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  The Court notes that this case does not fall within the
category of cases creating a rebuttable presumption that no
condition or combinations of conditions will reasonably assure
the safety of any person and the community described by 18
U.S.C. § 3142(e).
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assurance of either the defendant’s appearance or the safety of

others or the community, is sufficient; both are not required.”

Stewart, 19 F. App’x at 48 (citing United States v. Rueben, 974

F.2d 580, 585-86 (5th Cir. 1992)).

                                   III.

A.   Nature and Circumstances of the Offense Charged

           Defendant is charged with actively participating in a

large and complex fraud scheme.          As set forth in the indictment,

the scheme involved mimicking a Federal mortgage refinancing

program through the use of multiple aliases, false

identification documents, pay-as-you-go cell phones and other

means of concealment.     Ultimately, this fraud scheme is alleged

to have caused approximately $3.7 million in losses to over 400

victims.   While the offense does not involve any firearms or

violence, it does carry a hefty punishment if the Defendant is

convicted due to the scale of the fraud alleged.          Two of the

Defendant’s co-conspirators in this same fraud scheme were

recently sentenced to 135 months and 151 months incarceration

respectively.

           The alleged fraud also involved the use of at least

four aliases by the Defendant, and required that the Defendant

become adept at concealing his true identity. The Defendant is

alleged to have passed himself off as a “customer service

representative” over the phone using the aliases “Alvin

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Mayfield,” “Lance Parker,” “Tom Spiro,” and “James Atwood.”

Several of the Defendant’s co-conspirators had sophisticated

false identification documents.          As the Defendant faces

substantial jail time if convicted and the offense charged

involved the use of numerous aliases and careful concealment of

the Defendant’s identity, the nature and circumstances of the

offense charged suggests that the Defendant has a significant

motive to flee and access to the resources to do so effectively.

B.   Weight of the Evidence Against the Accused

          The weight of the evidence against the defendant also

weighs in favor of pretrial detention in this case.          At the

hearing on this motion, the Government introduced testimony from

Agent Erich Schulenberg, who was involved in the arrest of the

Defendant and is familiar with the Government’s investigation

into the scheme and the evidence against the defendant.            The

Court finds Agent Schulenberg’s testimony credible.          The

Government’s evidence against the Defendant includes an

identification of the Defendant as a phone operator and central

participant in the scheme.       The Government also claims to have

text message communications between the Defendant’s co-

conspirators which corroborates the Defendant’s role in the

conspiracy.   Finally, the Government claims to have financial

records demonstrating that the Defendant received money,

frequently in cash or cashier’s checks, as proceeds of the

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conspiracy.    The weight of the evidence against the defendant

appears to be substantial.      This extensive evidence against the

defendant increases the temptation to flee rather than return

for subsequent proceedings in this court, and weighs in favor of

detention.

C.      History and Characteristics of the Defendant

             The specific history and characteristics of the

defendant in this matter also weigh in favor of detention.             When

law enforcement arrived at the Defendant’s residence during

their first attempt to place him under arrest, around 10:00 a.m.

on November 4, 2015, the Defendant was observed fleeing out the

back of his building by a neighbor who recognized him.           The

Defendant was eventually apprehended at a fish taco restaurant

several blocks away between 10:15 and 10:30 a.m. on November 4,

2015.    When the Defendant was apprehended he had not purchased

any food, but was charging his cell phone at the restaurant.            He

had recently spoken with his girlfriend over the phone asking

her to pick him up.    The Defendant was in possession of his

passport and around $100 in cash.

             Defendant asserts that he was not fleeing law

enforcement, but was in fact at the fish taco restaurant for

entirely innocent reasons.      However, the Defendant fails to

explain why he was seen by his neighbor running out the back of

his house shortly after law enforcement personnel arrived

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outside his residence.     Further, the Defendant walks with a limp

due to a leg injury.     He fails to explain why, despite his limp,

he was seen on running on an indirect route the fish taco

restaurant that required him to climb a four to five foot high

wall as opposed to walking along the easier route afforded by

using the sidewalk accessible from his front door.          The

Defendant also fails to adequately explain why he had his

passport with him and had not purchased any food at the

restaurant but was charging his phone and using it to ask his

girlfriend to pick him up.      Additionally, as the Government has

been unable to locate the majority of the funds taken in by the

fraud, there is a reasonable likelihood that the Defendant has

access to substantial cash assets which could be used to flee.

           The Court finds that the Defendant was attempting to

flee law enforcement when they first attempted to place him

under arrest.   This action demonstrates that the Defendant’s

first instinct when faced with the threat of judicial

proceedings against him is to attempt to flee.         The Defendant’s

willingness to avoid judicial proceedings is further

demonstrated by the Defendant’s failure to appear on a previous

speeding violation in Laguna Hills Municipal Court.          That matter

involved a fine of $599 and led to the suspension of Defendant’s

license.



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          Because the Defendant has demonstrated skill at

evading detection and assuming false identities, and the

Defendant’s past actions demonstrate that his first instinct is

to flee rather than face judicial proceedings on the

Government’s charges, the history and characteristics of the

defendant weigh strongly in favor of detention.

D.   Danger to the Community

          The defendant is not alleged to have used violence or

weapons in the commission of his crimes.        However, the Court

need not find that the defendant would pose a danger to the

community if released when the first three factors demonstrate

that no combination of conditions will reasonably assure the

defendant’s presence at future court proceedings.          Stewart, 19

F. App’x at 48 (citing United States v. Rueben, 974 F.2d 580,

585-86 (5th Cir. 1992)).     Because the Defendant faces a

substantial prison sentence if convicted, the Government has

extensive evidence against the Defendant, the Defendant has

demonstrated skill at assuming false identities and evading

detection, and the Defendant has demonstrated a willingness to

use flight to thwart law enforcement rather than face judicial

proceedings in this matter, the Court finds by a preponderance

of the evidence that no combination of conditions will

reasonably assure the Defendant’s appearance at future court

proceedings.

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                                   IV.

          For the foregoing reasons, the Court finds that no

condition or combination of conditions will reasonably assure

the Defendant’s appearance at subsequent proceedings.           The Court

accordingly grants the Government’s Motion for Revocation of

Release Order and denies the Defendant’s Motion to Set

Conditions of Release.

          An appropriate order shall issue.




                                                 /s/
November 23, 2015                        James C. Cacheris
Alexandria, Virginia             UNITED STATES DISTRICT COURT JUDGE




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